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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 April 24, 2024
                       UNITED STATES DISTRICT COURT
                                                                              Nathan Ochsner, Clerk
                        SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION

DWAYNE RAYSHAUN WILSON,                     §
    Plaintiff,                              §
                                            §
v.                                          §      CIVIL ACTION NO. 4:24-CV-01247
                                            §
2151 KIRKWOOD, LLC,                         §
      Defendant.                            §

                MEMORANDUM AND RECOMMENDATION

      This case in which Plaintiff Dwayne Rayshaun Wilson (Wilson) is proceeding

pro se was referred to the undersigned Magistrate Judge on April 11, 2024. ECF 6.

It appears Wilson filed a “notice of removal of state court action” in Case No. 01-

24-00223-CV, a case that was pending before the First Court of Appeals. ECF 3-1

at 1; ECF 1-1 at 1. Case No. 01-24-00223-CV appears to be an appeal from a

judgment rendered in Docket No. 1221840 in favor of 2151 Kirkwood LLC. 2151

Kirkwood LLC, captioned as Defendant in this case, appears to have initiated the

state court action to obtain a writ of possession on property, allowing 2151 Kirkwood

to evict Mr. Wilson from his apartment. ECF 1-1 at 17. Wilson did not attempt to

remove the action to federal court until after the state trial and appellate courts ruled

against him in his attempts to forestall eviction. Id. at 1; ECF 3-1 at 4. Having

reviewed the removal papers and the record, the Court RECOMMENDS this case

be REMANDED to the First Court of Appeals from which it was removed.
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      Federal courts are courts of limited jurisdiction. Howery v. Allstate Ins. Co.,

243 F.3d 912, 916 (5th Cir. 2001) (citations omitted). The party invoking this

Court’s removal jurisdiction bears the burden of establishing the existence of federal

jurisdiction. See Manguno v. Prudential Prop. & Cas. Ins. Co., 276 F.3d 720, 723

(5th Cir. 2002) (citations omitted). If not raised by the parties, the Court is required

to consider jurisdiction sua sponte. Ruano v. Jordan, No. 4:21-CV-01180, 2023 WL

5186848, at *1 (S.D. Tex. Aug. 10, 2023) (citing 28 U.S.C. § 1446(c)). “To

determine whether federal jurisdiction exists, the court looks to the record in the state

court at the time of removal.” Oliver v. Lewis, 891 F. Supp. 2d 839, 842 (S.D. Tex.

2012) (citations omitted). “If at any time before final judgment it appears that the

district court lacks subject matter jurisdiction, the case shall be remanded.” 28

U.S.C. § 1447(c).

      The “Notice of Removal” submitted with Wilson’s Petition for Temporary

Injunction states: “[t]his matter involves conspiracy against rights, deprivation of

rights under color of law, and landlord retaliation, and the fact that Dwayne Wilson

has had difficulty addressing these matters in a state court and has been prevented

from evidencing his claims or rights in state court by different legal tactics per 28

U.S. Code 1443.” ECF 3-1 at 1. Section 1443(1) allows removal by the defendant

of actions commenced in state court:

      Against any person who is denied or cannot enforce in the courts of
      such State a right under any law providing for the equal civil rights of
                                           2
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      citizens of the United States, or of all persons within the jurisdiction
      thereof.

Removal under section 1443(1) requires the removing party to show “both that:

(1) the right allegedly denied . . . arises under a federal law providing for specific

rights stated in terms of racial equality; and (2) the removal petitioner is denied or

cannot enforce the specified federal rights in the state courts due to some formal

expression of state law.” Oliver v. Lewis, 891 F. Supp. 2d at 844. Here, Wilson

neither alleges racial discrimination nor a formal expression of state law that

prevents him from enforcing specified federal rights. In the absence of allegations

of racial discrimination, the case is not removable to federal court under 28 U.S.C.

§ 1443. See G&I IX Steeplechase v. Collins, No. 4:23-CV-3358, 2024 WL 98207,

at *2 (S.D. Tex. Jan. 9, 2024) (citing Cabello v. Texas, 71 F. App’x 315, 316 (5th

Cir. 2003)) (“Successful invocation of Section 1443 requires allegations of racial

discrimination[.]”).

      Furthermore, Wilson fails to allege original jurisdiction based on a federal

question. Wilson’s Motion for Ex-Parte Temporary Restraining Order filed on April

22, 2024 references federal regulations and federal criminal statutes, but none of

them provide a private right of action for a civil litigant. See Neal v. Burns, No.

3:19-CV-02908, 2022 WL 18495899, at *4 (N.D. Tex. Dec. 29, 2022) (citing Hanna

v. Home Ins. Co., 281 F.2d 298, 303 (5th Cir. 1960) (“The sections of Title 18 …

are criminal in nature and provide no civil remedies.”)); Jones v. U.S. EEOC, No.
                                          3
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